                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION




NOKIA TECHNOLOGIES OY,

     Plaintiff,

                  v.                                    CIVIL ACTION NO.

LENOVO (SHANGHAI) ELECTRONICS                           5:19-CV-0427-BO
TECHNOLOGY CO. LTD., LENOVO
GROUP, LTD., LENOVO BEIJING, LTD.,
LENOVO PC HK LIMITED, AND
LENOVO (UNITED STATES), INC.,

     Defendants.


  DECLARATION OF WARREN LIPSCHITZ IN SUPPORT OF PLAINTIFF NOKIA
 TECHNOLOGIES OY’S RESPONSE TO DEFENDANT LENOVO (UNITED STATES)
      INC.’S MOTION TO LIMIT THE NUMBER OF ASSERTED CLAIMS

I, Warren Lipschitz, do state and declare as follows:

       I am an attorney at the law firm of McKool Smith PC (“McKool Smith”), counsel for

Plaintiffs Nokia Technologies Oy. I make this declaration in support of Nokia’s Response to

Lenovo’s Motion to Limit the Number of Asserted Claims. Unless otherwise stated, the

matters contained in this declaration are of my own personal knowledge and, if called as a

witness, I could and would testify competently to the matters set forth herein.

         1.       Attached hereto as Exhibit 1 is a true and correct copy of email correspondence

between counsel for Nokia and counsel for Lenovo, dated April 28, 2020 - June 29, 2020.

         2.       Attached hereto as Exhibit 2 is a true and correct copy of the letter from

Alexandra Easley to Bradley Baglien, dated June 9, 2020.

         3.       Attached hereto as Exhibit 3 is a true and correct copy of the notice of third-
                                                  i

          Case 5:19-cv-00427-BO Document 67 Filed 07/29/20 Page 1 of 2
party subpoena to Qualcomm, dated April 27, 2020.

         4.    Attached hereto as Exhibit 4 is a true and correct copy of the comparison of

select asserted claims.

         5.    Attached hereto as Exhibit 5 is a true and correct copy of the email from Warren

Lipschitz to Harry Hanson, dated June 17, 2020.

         6.    Attached hereto as Exhibit 6 is a true and correct copy of email correspondence

between counsel for Nokia and counsel for Lenovo, dated July 3, 2020 - July 28, 2020.

         7.    Attached hereto as Exhibit 7 is a true and correct copy of Lenovo Technology

(UK), Ltd. and Motorola Mobility UK Ltd.’s Defence and Counterclaim filed in the High Court

of Justice Business and Property Courts of England and Wales Intellectual Property List

(Chancery Division) Patents Court, in IPCom GMGH & Co. KG and Lenovo Technology (UK)

Limited, et al., dated September 23, 2019.

       I declare under penalty of perjury that the foregoing is true and correct and this

declaration was executed on July 29, 2020, in Dallas, Texas.


                                             /s/ Warren Lipschitz
                                             Warren Lipschitz




          Case 5:19-cv-00427-BO Document 67 Filed 07/29/20 Page 2 of 2
